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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNIVERSITY OF CALIFORNIA
STUDENT ASSOCIATION,

                 Plaintiff,

        v.                                    Case No. 1:25-cv-00354-RDM

DENISE CARTER, in her official capacity as
Acting Secretary of Education, et al.,

                 Defendants.



          SUPPLEMENTAL DECLARATION OF
                 ADAM RAMADA
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



University of California Student Association           Case No 1:25-cv-00354-RDM

   Plaintiffs,

       v.                                              Judge Randolph D. Moss

Denise Carter, in her official capacity as
Acting Secretary of Education, et al.,

   Defendants.


                 SUPPLEMENTAL DECLARATION OF ADAM RAMADA

  1. My name is Adam Ramada. I am currently employed at the United States DOGE Service
     (“USDS”), formerly known as the United States Digital Service. I started serving in this
     role on January 23, 2025. The following supplements my original declaration in this
     case, signed February 13, 2025, and is based on my personal knowledge or information
     provided to me in the course of performing my duties.

  2. As explained in my February 13 declaration, there are six employees at the Department
     of Education (“Department”) who play the principal role in helping to advance the
     mission of President Trump’s Executive Order 14,158.

  3. The Department of Education is the “home” agency of two of these employees. The other
     four employees, including myself, are on detail to the Department. Two are on detail
     from other federal agencies. Two are on detail from USDS.

  4. On average, I spend 50-60 hours per week working at Department facilities, as do the two
     employees whose home agency is the Department. Of the other detailed employees, two
     spend, I would estimate, 20-30 hours per week at the Department, and the last spends, I
     would estimate, 5 hours per week at the Department.

  5. All six employees identified above assist the Department of Education with auditing
     contract, grant, and related programs for waste, fraud, and abuse. In addition, we help
     senior Department leadership obtain access to accurate data and data analytics to inform
     their policy decisions at the Department.




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6. The four employees on detail listed above, as with the two employees for whom the
   Department is their home agency, regularly interact with and receive assistance from
   other Department employees.

7. I am aware of the list of thirty-seven individuals whom Plaintiff’s counsel “believe have
   been given access to one or more ED records systems,” according to Plaintiff’s message
   to Defendants’ counsel on February 15, 2025. As stated above, there are only six of us at
   the Department whose primary role is implementing the President’s executive order. I am
   not aware of any DOGE-affiliated individuals other than the six listed above who have
   been granted access to Department information technology and data systems or who have
   otherwise received any Department information protected by the Privacy Act or section
   6103 of the Internal Revenue Code.

8. Thus far, the six of us have primarily worked to identify contracts and grants that are
   wasteful, abusive, or inconsistent with leadership’s policy priorities.

9. It came to my attention today that one of the six employees referenced above has not yet
   completed ethics or information security trainings. He has been directed to complete
   both this week and has indicated that he will do so.

                                           ***

   I declare under penalty of perjury that the foregoing is true and correct.

   Executed in Washington, DC this 16th day of February.


                                          _______________________
                                                Adam Ramada




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